99 F.3d 1131
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Perry SHIPPY, Plaintiff-Appellant,v.D. HAROLD;  D. Moss;  C. Evans, Defendants-Appellees.
    No. 96-6748.
    United States Court of Appeals, Fourth Circuit.
    Oct. 24, 1996.
    
      Perry Shippy, Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint pursuant to 28 U.S.C. § 1915(d) (1994), amended by Prison Litigation Reform Act, Pub.L. No. 104-134, 110 Stat. 1321 (1996).  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Shippy v. Harold, No. CA-96-307 (E.D.N.C. Apr. 24, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    